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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              8:12CR311
                      Plaintiff,             )
                                             )
       vs.                                   )                ORDER
                                             )
COLE GUSTAFSON,                              )
                                             )
                      Defendant.             )

       At the initial appearance of the defendant on the charges contained in the indictment on
file, the United States moved to detain the defendant without bail pending trial on the basis that
he was a flight risk and a danger to the community. At the time of his initial appearance before
the court, the defendant was in the custody of Nebraska state authorities on state charges.
Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Cole Gustafson pursuant to the Bail Reform
Act is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Cole Gustafson, having received notice of his return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an
opportunity for hearing in this matter pursuant to the Interstate Agreement on Detainers, 18
U.S.C. app § 9(2), the U.S. Marshal is authorized to return the defendant, Cole Gustafson, to
the custody of Nebraska state authorities pending the final disposition of this matter and the
U.S. Marshal for the District of Nebraska is directed to place a detainer with the correctional
officer having custody of the defendant.
       DATED this 24th day of October, 2012.
                                                      BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
